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                             EXHIBIT B
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                 Case 2:24-cv-09096-WJM-SDA                                                 Document 1-5                          Filed 09/11/24                      Page 7 of 8 PageID: 32
Instructions for Employee                                                       However, if you were at least age 50 in 2023, your employer may have           S—Employee salary reduction contributions under a section 408(p)
                                                                                allowed an additional deferral of up to $7,500 ($3,500 for section 401(k)      SIMPLE plan (not included in box 1)
Box 1. Enter this amount on the wages line of your tax return.                  (11) and 408(p) SIMPLE plans). This additional deferral amount is not          T—Adoption benefits (not included in box 1). Complete Form 8839 to
Box 2. Enter this amount on the federal income tax withheld line of your        subject to the overall limit on elective deferrals. For code G, the limit on   figure any taxable and nontaxable amounts.
tax return.                                                                     elective deferrals may be higher for the last 3 years before you reach
                                                                                retirement age. Contact your plan administrator for more information.          V—Income from exercise of nonstatutory stock option(s) (included in
Box 5. You may be required to report this amount on Form 8959. See              Amounts in excess of the overall elective deferral limit must be included      boxes 1, 3 (up to the social security wage base), and 5). See Pub. 525
the Form 1040 instructions to determine if you are required to complete         in income. See the Form 1040 instructions.                                     for reporting requirements.
Form 8959.                                                                                                                                                     W—Employer contributions (including amounts the employee elected to
                                                                                Note: If a year follows code D through H, S, Y, AA, BB, or EE, you made
Box 6. This amount includes the 1.45% Medicare tax withheld on all              a make-up pension contribution for a prior year(s) when you were in            contribute using a section 125 (cafeteria) plan) to your health savings
Medicare wages and tips shown in box 5, as well as the 0.9% Additional          military service. To figure whether you made excess deferrals, consider        account. Report on Form 8889.
Medicare Tax on any of those Medicare wages and tips above $200,000.            these amounts for the year shown, not the current year. If no year is          Y—Deferrals under a section 409A nonqualified deferred compensation
                                                                                shown, the contributions are for the current year.                             plan
Box 8. This amount is not included in box 1, 3, 5, or 7. For information
on how to report tips on your tax return, see the Form 1040 instructions.       A—Uncollected social security or RRTA tax on tips. Include this tax on         Z—Income under a nonqualified deferred compensation plan that fails to
                                                                                Form 1040 or 1040-SR. See the Form 1040 instructions.                          satisfy section 409A. This amount is also included in box 1. It is subject
You must file Form 4137 with your income tax return to report at least the                                                                                     to an additional 20% tax plus interest. See the Form 1040 instructions.
allocated tip amount unless you can prove with adequate records that            B—Uncollected Medicare tax on tips. Include this tax on Form 1040 or
you received a smaller amount. If you have records that show the actual         1040-SR. See the Form 1040 instructions.                                       AA—Designated Roth contributions under a section 401(k) plan
amount of tips you received, report that amount even if it is more or less      C—Taxable cost of group-term life insurance over $50,000 (included in          BB—Designated Roth contributions under a section 403(b) plan
than the allocated tips. Use Form 4137 to figure the social security and        boxes 1, 3 (up to the social security wage base), and 5)
Medicare tax owed on tips you didn’t report to your employer. Enter this                                                                                       DD—Cost of employer-sponsored health coverage. The amount
amount on the wages line of your tax return. By filing Form 4137, your          D—Elective deferrals to a section 401(k) cash or deferred arrangement.         reported with code DD is not taxable.
social security tips will be credited to your social security record (used to   Also includes deferrals under a SIMPLE retirement account that is part of      EE—Designated Roth contributions under a governmental section 457(b)
figure your benefits).                                                          a section 401(k) arrangement.                                                  plan. This amount does not apply to contributions under a tax-exempt
                                                                                E—Elective deferrals under a section 403(b) salary reduction agreement         organization section 457(b) plan.
Box 10. This amount includes the total dependent care benefits that your
employer paid to you or incurred on your behalf (including amounts from         F—Elective deferrals under a section 408(k)(6) salary reduction SEP            FF—Permitted benefits under a qualified small employer health
a section 125 (cafeteria) plan). Any amount over your employer’s plan           G—Elective deferrals and employer contributions (including nonelective         reimbursement arrangement
limit is also included in box 1. See Form 2441.                                 deferrals) to a section 457(b) deferred compensation plan                      GG—Income from qualified equity grants under section 83(i)
Box 11. This amount is (a) reported in box 1 if it is a distribution made       H—Elective deferrals to a section 501(c)(18)(D) tax-exempt organization        HH—Aggregate deferrals under section 83(i) elections as of the close of
to you from a nonqualified deferred compensation or nongovernmental             plan. See the Form 1040 instructions for how to deduct.                        the calendar year
section 457(b) plan, or (b) included in box 3 and/or box 5 if it is a prior
                                                                                J—Nontaxable sick pay (information only, not included in box 1, 3, or 5)       Box 13. If the “Retirement plan” box is checked, special limits may apply
year deferral under a nonqualified or section 457(b) plan that became
                                                                                                                                                               to the amount of traditional IRA contributions you may deduct. See Pub.
taxable for social security and Medicare taxes this year because                K—20% excise tax on excess golden parachute payments. See the                  590-A.
there is no longer a substantial risk of forfeiture of your right to the        Form 1040 instructions.
deferred amount. This box shouldn’t be used if you had a deferral and                                                                                          Box 14. Employers may use this box to report information such as state
                                                                                L—Substantiated employee business expense reimbursements                       disability insurance taxes withheld, union dues, uniform payments,
a distribution in the same calendar year. If you made a deferral and            (nontaxable)
received a distribution in the same calendar year, and you are or will be                                                                                      health insurance premiums deducted, nontaxable income, educational
age 62 by the end of the calendar year, your employer should file Form          M—Uncollected social security or RRTA tax on taxable cost of group-            assistance payments, or a member of the clergy’s parsonage allowance
SSA-131, Employer Report of Special Wage Payments, with the Social              term life insurance over $50,000 (former employees only). See the Form         and utilities. Railroad employers use this box to report railroad retirement
Security Administration and give you a copy.                                    1040 instructions.                                                             (RRTA) compensation, Tier 1 tax, Tier 2 tax, Medicare tax, and Additional
                                                                                N—Uncollected Medicare tax on taxable cost of group-term life insurance        Medicare Tax. Include tips reported by the employee to the employer in
Box 12. The following list explains the codes shown in box 12. You may                                                                                         railroad retirement (RRTA) compensation.
need this information to complete your tax return. Elective deferrals           over $50,000 (former employees only). See the Form 1040 instructions.
(codes D, E, F, and S) and designated Roth contributions (codes AA,             P—Excludable moving expense reimbursements paid directly to a                  Note: Keep Copy C of Form W-2 for at least 3 years after the due date
BB, and EE) under all plans are generally limited to a total of $22,500         member of the U.S. Armed Forces (not included in box 1, 3, or 5)               for filing your income tax return. However, to help protect your social
($15,500 if you only have SIMPLE plans; $25,500 for section 403(b)                                                                                             security benefits, keep Copy C until you begin receiving social security
                                                                                Q—Nontaxable combat pay. See the Form 1040 instructions for details            benefits, just in case there is a question about your work record and/or
plans if you qualify for the 15-year rule explained in Pub. 571). Deferrals
                                                                                on reporting this amount.                                                      earnings in a particular year.
under code G are limited to $22,500. Deferrals under code H are limited
to $7,000.                                                                      R—Employer contributions to your Archer MSA. Report on Form 8853.                Department of the Treasury - Internal Revenue Service


        NOTE: THESE ARE SUBSTITUTE WAGE AND TAX STATEMENTS AND ARE ACCEPTABLE FOR FILING WITH YOUR FEDERAL, STATE AND LOCAL/CITY INCOME TAX RETURNS.

This information is being furnished to the Internal                             Notice to Employee
Revenue Service. If you are required to file a tax
return, a negligence penalty or other sanction may                              Do you have to file? Refer to the Form 1040 instructions                       Corrections. If your name, SSN, or address is incorrect,
be imposed on you if this income is taxable and                                 to determine if you are required to file a tax return. Even                    correct Copies B, C, and 2 and ask your employer to
you fail to report it.                                                          if you don’t have to file a tax return, you may be eligible                    correct your employment record. Be sure to ask the
                                                                                for a refund if box 2 shows an amount or if you are                            employer to file Form W-2c, Corrected Wage and Tax
     IMPORTANT NOTE:
                                                                                eligible for any credit.                                                       Statement, with the SSA to correct any name, SSN, or
     In order to insure efficient processing,
                                                                                Earned income credit (EIC). You may be able to                                 money amount error reported to the SSA on Form W-2.
     attach this W-2 to your tax return like this
     (following agency instructions):                                           take the EIC for 2023 if your adjusted gross income                            Be sure to get your copies of Form W-2c from your
                                                                                (AGI) is less than a certain amount. The amount of the                         employer for all corrections made so you may file them
                                                                                credit is based on income and family size. Workers                             with your tax return. If your name and SSN are correct but
                                                                                without children could qualify for a smaller credit. You                       aren’t the same as shown on your social security card, you
          TAX RETURN                                                            and any qualifying children must have valid social                             should ask for a new card that displays your correct name
                                                                                security numbers (SSNs). You can’t take the EIC if your                        at any SSA office or by calling 800-772-1213. You may
                                                                                investment income is more than the specified amount for                        also visit the SSA website at www.SSA.gov.
         THIS                                                                   2023 or if income is earned for services provided while                        Cost of employer-sponsored health coverage (if such
        FORM
                 OTHER                                                          you were an inmate at a penal institution.                                     cost is provided by the employer). The reporting in
         W-2
                  W-2’S                                                         For 2023 income limits and more information, visit                             box 12, using code DD, of the cost of employer-sponsored
                                                                                www.irs.gov/EITC. See also Pub. 596. Any EIC that is                           health coverage is for your information only.
                                                                                more than your tax liability is refunded to you, but                           The amount reported with code DD is not taxable.
                                                                                only if you file a tax return.
                                                                                                                                                               Credit for excess taxes. If you had more than one
                                                                                Employee’s social security number (SSN). For your                              employer in 2023 and more than $9,932.40 in social
                                                                                protection, this form may show only the last four digits                       security and/or Tier 1 railroad retirement (RRTA) taxes
                                                                                of your SSN. However, your employer has reported                               were withheld, you may be able to claim a credit for the
                                                                                your complete SSN to the IRS and the Social Security                           excess against your federal income tax. See the Form
                                                                                Administration (SSA).                                                          1040 instructions. If you had more than one railroad
                                                                                Clergy and religious workers. If you aren’t subject to                         employer and more than $5,821.20 in Tier 2 RRTA tax was
                                                                                social security and Medicare taxes, see Pub. 517.                              withheld, you may be able to claim a refund on Form 843.
                                                                                                                                                               See the Instructions for Form 843.

Department of the Treasury - Internal Revenue Service                           Department of the Treasury - Internal Revenue Service                          Department of the Treasury - Internal Revenue Service
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                      For Official Use Only                                                           Safe, accurate,                              Visit the IRS website
  44444               OMB No.                                                                         FAST! Use                                    at www.irs.gov/efile.
 a Employer’s name, address,                                                               c Tax year/Form corrected                d Employee’s correct SSN

     UNITED AIRLINES INC.
                                                                                            2023           / W-2
     16TH FLOOR - HSCPZ                                                                    e Corrected SSN and/or name. (Check this box and complete boxes f and/or
     609 MAIN STREET
                                                                                           Complete boxes f and/or g only if incorrect on form previously filed:
     HOUSTON TX 77002                                                                      f Employee’s previously reported SSN


 b                                                                                         g Employee’s previously reported name


                                                                                           h                                       Last name                               Suff.
                                                                                               INGRID                              RAGANOVA
                                                                                               AVENIDA AMALIA RODRIGUES
Note:                                                      (Exception: for                     NO. 10, 3A
corrections involving MQGE, see the General Instructions for Forms W-2                         RAMADA PRT 2620-520
and W-3, under Specific Instructions for Form W-2c, boxes 5 and 6).                        i Employee’s address and ZIP code
        Previously reported                            Correct information                          Previously reported                     Correct information
 1 Wages, tips, other compensation             1 Wages, tips, other compensation               2 Federal income tax withheld            2 Federal income tax withheld


 3 Social security wages                       3 Social security wages                         4 Social security tax withheld           4 Social security tax withheld


 5 Medicare wages and tips                     5 Medicare wages and tips                       6 Medicare tax withheld                  6 Medicare tax withheld


 7 Social security tips                        7 Social security tips                          8 Allocated tips                         8 Allocated tips


 9                                             9                                           10                                      10


11                                            11                                           12a See instructions for box 12         12a See instructions for box 12
                                                                                           C                                        C
                                                                                           o                                        o
                                                                                           d                                        d
                                                                                           e                                        e

13 Statutory   Retirement     Third-party     13 Statutory      Retirement   Third-party   12b                                     12b
   employee    plan           sick pay             employee     plan         sick pay      C                                        C
                                                                                           o                                        o
                                                                                           d                                        d
                                                                                           e                                        e

14 Other (see instructions)                   14 Other (see instructions)                  12c                                     12c
                                                                                           C                                        C
                                                                                           o                                        o
                                                                                           d                                        d
                                                                                           e                                        e

                                                                                           12d                                     12d
                                                                                           C                                        C
                                                                                           o                                        o
                                                                                           d                                        d
                                                                                           e                                        e




                                                                     State Correction Information
        Previously reported                            Correct information                          Previously reported                     Correct information
15 State                                      15 State                                     15 State                                15 State


     Employer’s state ID number                    Employer’s state ID number                    Employer’s state ID number               Employer’s state ID number


16 State wages, tips, etc.                    16 State wages, tips, etc.                   16 State wages, tips, etc.              16 State wages, tips, etc.


17 State income tax                           17 State income tax                          17 State income tax                     17 State income tax


                                                                   Locality Correction Information
        Previously reported                            Correct information                          Previously reported                     Correct information
18 Local wages, tips, etc.                    18 Local wages, tips, etc.                   18 Local wages, tips, etc.              18 Local wages, tips, etc.


19 Local income tax                           19 Local income tax                          19 Local income tax                     19 Local income tax


20 Locality name                              20 Locality name                             20 Locality name                        20 Locality name



                                                                                                         Copy B—To Be Filed With Employee’s FEDERAL Tax Return
                                                                                                                                                   Department of the Treasury
Form W-2c (Rev. 8-2023)                                       Corrected Wage and Tax Statement                                                     Internal Revenue Service
                                                                                                                                                                   Form 5314
